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IN THE UNITED STATES DISTRICT COURT 'm
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

BARBARA NEWBERRY,

 

Plaintiff,
vs. NO. 04-2383-V

AUTOZONE, INC.,

v~_¢~_d\_d\.¢vv\_dv

Defendant.

 

ORDER OF DISMISSAL

 

In accordance with the Agreed Stipulation to Dismissal with
Prejudice of Complaint and All Causes of Action Alleged Therein
attached hereto, this case is hereby dismissed with prejudice at
defendant's costs, pursuant to the parties' agreement.

IT IS SO ORDERED this 33 day of May, 2005.

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

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Honorable Diane Vescovo
US DISTRICT COURT

